 Case 3:15-md-02670-JLS-MDD Document 1386 Filed 09/25/18 PageID.93235 Page 1 of 2


 1
 2
 3
 4
 5
 6                          UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   IN RE: PACKAGED SEAFOOD                         Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                     ORDER GRANTING JOINT
11                                                   MOTION REGARDING AMENDED
                                                     SCHEDULE FOR RESPONDING TO
12
                                                     PLAINTIFF ASSOCIATED
13                                                   WHOLESALE GROCERS’ FIRST
                                                     AMENDED COMPLAINT
14
                                                     (ECF No. 1380)
15
16         Presently before the Court is a Joint Motion by Direct Action Plaintiff Associated
17   Wholesale Grocers, Inc. (“AWG”), and Defendant Christopher D. Lischewski, for
18   approval of a stipulation regarding a schedule for responding to AWG’s First Amended
19   Complaint and forthcoming Second Amended Complaint. The Parties stipulate as
20   follows:
21         1.    Mr. Lischewski’s deadline to respond to AWG’s First Amended Complaint
22   (“FAC”) is suspended until October 19, 2018.
23         2.    If AWG files a Second Amended Complaint (“SAC”) on or before October 5,
24   2018, Ms. Lischewski will respond, by October 19, 2018, to AWG’s SAC.
25         3.    Upon filing his response to AWG’s SAC, Mr. Lischewski will no longer be
26   required to respond to AWG’s FAC.
27         4.    In the event that AWG does not file its SAC, Mr. Lischewski will respond to
28   AWG’s FAC by October 19, 2018.

                                                 1
                                                                            15-MD-2670 JLS (MDD)
 Case 3:15-md-02670-JLS-MDD Document 1386 Filed 09/25/18 PageID.93236 Page 2 of 2


 1         5.    The parties agree that this stipulation is not a waiver by Mr. Lischewski of
 2   any defenses unrelated to service of process, including, without limitation, any
 3   jurisdictional defenses under Federal Rule of Civil Procedure 12(b)(2).
 4         Good Cause appearing, the Court GRANTS the Joint Motion. The parties will
 5   comply with the amended schedule as stipulated in their Joint Motion.
 6         IT IS SO ORDERED.
 7   Dated: September 25, 2018
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 2
                                                                               15-MD-2670 JLS (MDD)
